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 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT TACOMA

 8    UNITED STATES OF AMERICA,
 9                   Plaintiff,
                                                                  Case No. CR05-5828FDB
10            v.
                                                                  ORDER DENYING DEFENDANT’S
11    BRIANA WATERS,                                              MOTION RE PLACEMENT
                                                                  PENDING APPEAL
12                   Defendant.
13
            Defendant-Appellant Briana Waters requests that this Court recommend that she be confined
14
     in a place near the place of appeal in order to assist her counsel in San Francisco with the appeal.
15
     This Court has already made a recommendation – as requested by Plaintiff at sentencing – that
16
     Waters be placed at FCI-Dublin, California or close to her home in California, if possible. There is
17
     nothing further for this Court to do. This Court is now divested of jurisdiction over this case by the
18
     appeal to the Ninth Circuit, which Court now has jurisdiction over this matter.
19
            ACCORDINGLY, IT IS ORDERED: Defendant-Appellant Waters’ Request for
20
     Recommendation to The Attorney General on Placement Pending Appeal [Dkt # 464] is DENIED.
21
            DATED this 6th day of October 2008.



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24                                          FRANKLIN D. BURGESS
                                            UNITED STATES DISTRICT JUDGE
25

26   ORDER - 1
